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                           EXHIBIT A
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CAMDEN COUNTY
SUPERIOR COURT
HALL OF JUSTICE
CAMDEN            NJ 08103
                                              TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (856) 650-9100
COURT HOURS 8:30 AM - 4:30 PM

                              DATE:   AUGUST 21, 2020
                              RE:     BALLINGER MONICA     VS SEQUEL YOUTH & FAMIL Y SERVI
                              DOCKET: CAM L -002825 20

      THE ABOVE CASE HAS BEEN ASSIGNED TO:    TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:    HON STEVEN J. POLANSKY

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM       101
AT:   (856) 650-9100 EXT 43126.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: MARC A. WEINBERG
                                             SAFFREN & WEINBERG
                                             815 GREENWOOD AVENUE
                                             SUITE 22
                                             JENKINTOWN       PA 19046

ECOURTS
      CAM-L-002825-20 09/02/2020 3:10:56 PM Pg 1 of 1 Trans ID: LCV20201547741
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                              EXHIBIT B
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                                  :
  MONICA BALLINGER,                               :
                                                  :   Civil Action No. ________________
                                Plaintiff,        :
                                                  :
  v.                                              :   Civil Action
                                                  :
  SEQUEL YOUTH AND FAMILY                         :
  SERVICES d/b/a CAPITAL                          :
  ACADEMY;                                        :
  SEQUEL YOUTH AND FAMILY                         :
  SERVICES, LLC,                                  :
  JOHN DOES I-X AND ABC                           :
  COMPANIES I-X                                   :
                                                  :
                                Defendants.


                           DECLARATION OF MEGAN STUPAK, ESQ.

           I, Megan Stupak, declare as follows:
           1.     I am Corporate Counsel for Defendant Sequel Youth and Family Services, LLC


           2.     I have personal knowledge of and am competent to testify as to the matters set forth
 herein.
           3.     Sequel is a limited liability company organized under the laws of the State of
 Delaware.
           4.     Sequel s members are located in the states of Arizona, Delaware, Florida, Iowa,
 Idaho, Illinois, Indiana, Maine, Michigan, North Carolina, New York, Ohio, South Dakota, and
 Utah, respectively.
           5.     On August 25, 2020, Sequel was served with the Complaint filed by Plaintiff in the
 above-captioned matter.
           6.     Sequel of New Jersey, Inc. d/b/a Capital Academy is a Delaware corporation with
 its corporate headquarters located at 1131 Eagletree Lane, Huntsville, Alabama, 35801.
           I declare under penalty of perjury that the foregoing is true and correct.
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                                    _______________________________
 Executed on: September ___,
                        23 2020     Megan Stupak, Esq.

                                                                      44291003.1




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